Case 2:05-cr-00133-TSZ Document 34 Filed 12/16/05 Page 1 of 6
AC 245R (Rev. 6/05) Judgment in a Criminal (use (Rev. USAC? 10/2005}

 

 

 

 

Shect 1
UNITED STATES DISTRICT COURT
WESTERN District of WASHINGTON
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
¥.
CHRISTOPHER WTLI.S McINTOSH Case Number; CRO5-0133TS2-001

USM Number: 30512-013
STEPHAN Rt. [LLA
efondant’s Attomey

THE DEFENDANT:

@ pleaded guilty to count(s} 1 of the Indictment (Date of Plea: September 26, 2005)

 

O pleaded nolo contendere to count(s)
which was accepted by the court.

 

CI was found guilty on count(s)
after a plea of not guilty,

 

The defendant is adjudicated guilty of these offenses:
Date Offense

i t “ti i
Title & Section Nature of Offense Concluded Count No.

18 USC § &44(i) Arson January 20, 2003 1

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984,

(7 The defendant has been found not puilty on count(s)

 

0 Counts) (J is are dismissed on the motion of the United States.

It is ordered that the defendant musi notify the United States attomey for this district within 30 days of any change of nam, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment arc fully paid, If ordered to pay restitution,
the defendant must nonfy the court and United States attomey of material changes in econgpmi¢ circumstances,

2 ———
ANDREW C, FRIEDMAN = C. a

Assistant United States Attomey

December 16.2005

Date of Imposition of Judgment

“NMR SOO

Signature of Judge 8) \

VAL) EY a

 

THOMAS §. ZILL
UOT) EM A) Nan and heer ge

05-CR-00133-JGM December 16. 2005
‘a

 

 

 
AQ 245K (Rev. 6/05) Judge ecanoelOn Rt 3BA9 D200Hocument 34 Filed 12/16/05 Page 2 of 6

Sheet 2 — Imprisanment

 

Judgment — Page __2 of __6@
DEFENDANT: CHRISTOPHER WILLS McINTOSH

CASE NUMBER: (R03-0133TSZ-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Burcau of Prisons to be imprisoned fora
total term of: wWuvery - Ste C96) Mey

 

af The court makes the following recommendations to the Bureau of Prisons:

“The dada Ys ine erearets d waK «| & ie ta

possible. to Camden New Tavs | Phitaduph— AL bind

Av hepds on Fe Pyare Fo Pavan,’ |
& The defe bene is veloonded to the custody of the United States Marshal. S02 «ho. dour t i

LC) The defendant shall surrender to the United States Marshai for this district:
[] at Oam ({]) pm on

O)  asnotified by the United States Marshal.

 

C1 The defendant shall surrender for scrvice of sentence at the institution designated by the Bureau of Prisons:
OC) before 2 p.m.

 

[] as notified by the United States Marshal.

C] as notified by the Probation or Pretrial Services Office,

 

 

 

 

 

 

 

RETURN
T have executed this judgment as follows:
Defendant delivered lo
at » with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

QEPUTY UNITED STATES MARSIIAL
Case 2:05-cr-00133-TSZ Document 34 Filed 12/16/05 Page 3 of 6

AQ 2453 (Rev. 6/05) Judgrneut in Criminal Case (Rev. USA 10/2005)

Sheet 3 — Supervised Release

 

 

Judgment---Page _ 3 of 6

DEFENDANT: CHRISTOPHER WELLS McINTOSH
CASE NUMBER: CRO05-0133TSZ-001

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release foratermof: _TITRER (3) YEARS

 

B

0

Oo O88 @

The defendant nuast report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully passess a controlled substance. The defendant shall reftain from any unlawfyl use of a controlled

substance. ‘The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests tereayten yp ta a maximum of eight (8) tests per month at dates and times directed by the U.S. Probation Officer. (Check, if
applicable.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, destructive device, or any other dangerous weapou. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the slate sex offender registration agency in the state where the defendant resides, works, or is 4
student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence, (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the

Schedule of Paymenis sheet of this judgment.

The defendant tat comply with the standard conditions that have heen adopted by this court as well as with any additional conditions

on the attached page.

1)
2)

3)
4)
5)

4)
7)
8)
9)
10)

11)
12)

13)

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
ihe defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawfyl occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least ten days prior to any change im residence or employment;

the defendant shall refrain from excessive use of alcchol and shall nol purchase, possess, use, distribute, or administer any
controlied substance or any paraphernalia tclated to any controlled substances, except as prescribed by a physician;

the defendant shal! not frequent placcs where controlled substances are illegally sold, used, distributed, or administered;

the defendant shall not assaciate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer,

the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

the defendant shall notity the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer,

the defendant shall not entcr into any agreement to act as an informer or a special agent of a law cnforcement agency without the
permission, of the court; and

   

as directed by the probation officer, the defendant shall notify third partics of rigks that may be occasioned by the defendant's criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
d 8 compliance with such notification requirement.
Case 2:05-cr-00133-TSZ Document 34 Filed 12/16/05 Page 4 of 6

AO 245R (Rev. 6/05) Judgement in Criminal Case (Rev, USAQ 10/2005)
Sheet 3A — Supervised Release

 

Judgment—Page _4 _ of 6
DEFENDANT: CHRISTOPHER WELLS McINTOSH
CASE NUMBER: CROS-01 33TSZ-00]

ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. The defendant shall cooperate im the collection of DNA as ditected by the U. 5. Probation Officer.
2. The defendant shall be prohibited from possessing a firearm or destructive device as defined im 18 U.S.C. § 921.

3. The defendant shall submit to mandatory drup testing pursuant to 18 U.S.C. § 3563(a)(5) and18 U.S.C. § 3583(d). The
defendant shall be required to submit not more than eight valid tests per month.

4. The defendant shall abstain from the use of alcohol and/or all other intoxicants during the period of supervision and
enter into aleghol treatment as directed by the supervising U. §. Probation Officer. The defendant must contribute
towards the cost of any programs, to the extent he is financially able to do so, as determined by the U. 8. Probation
Officer,

$, The defendant shall participate as instructed by his U.S. Probation Officer na program approved by the probation office
for treatment of narcotic addiction, drug dependency or substance abuse, which may include testing to determine if the
defendant has reverted to the use of drugs or alcohol. The defendant must contribute tawards the cost of any programs,
to the extent he is financially able to do so, as determined by the U_ 5. Probation Officer.

6. The defendant shall submit to a search of his person, residence, office, property, storage unit, or ychicle conducted in a
reasonable manner and at a reasonable time by a U. 5. Probation Officer.

7. The defendant shall participate as directed in a mental health program approved by the U. §. Probation Office. The
defendant must contrbule towards the cost of any programs, to (he extent he is financially able to do so, as determined

by the U. &. Probation Officcr. ‘
z peat pest tt tite a Ol SOLE Eee Ty. 2 Llly LOD perrer ctorn es Sa ae z ro

SUL Vis] 10 Moo mss mcrae a) oss [han ye Cee eT Ty +5 POSS TOG Dy ARs Cron ereeitie ci Est on

, 151 ; fe ant 5 oF eH f in I =

 

10. The defendant shall provide his U. 8. Probation Officer with access to any requested financial information, including
authorization to conduct credit checks and obtain copies of defendant's federal income tax returns.

ll. The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate, passport, or any
other form of identification m any other name other than defendant’s true legal name, without the prior written approval
of defendant's U.S. Probation Officer.

 
 

Case 2:05-cr-00133-TSZ Document 34 Filed 12/16/05 Page 5 of 6

AQ245B (Rev. 6/05) Judgment in Criminal Case (Rev. USAQ 10/2005)
Sheet 5 Criminal Monetary Penaltics

 

pr iP aL,
————

Judgment— Page 5 _ of 6

—————

 

 

DEFENDANT: CHRISTOPHER WELLS McINTOSH
CASE NUMBER: CRO5-0133TS2Z-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

Assessment Fine ag. Restitution ne
TOTALS $ 100.00 $—eee=008~ § Saeeee oo

11 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AQ 245C) will be entered
after such determination.

EL ‘The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximatel roportioned payment, unless specified otherwise in
the priority order ot percentage payment calumn below. However, pursuant to 18 U.8.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total [.ass* Restitution Ordered Priority or Percentage
McDionald’s Restaurant $5 see ae 5520s attr 100%
2377 Fifth Avenue North
Scattle, WA 98109
ot OOF
TOTALS $__ snow SOE

1 Pera
& Restitution amount ordered pursuant to plea agreement $ 06680

[C11 The defendant must pay interest on resittution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(4), All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 26 '2(g).

Fs The court determined that the defendant does not haye the ability to pay imterest and it is ordered that:
fa the interest requirement is waived furthe 2 fine 4 restitution.

C1 the interest requirement forthe (1 fine (1 restitution js modifica as follows:

(1 The Court finds that the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the
imposition of a fine is waived.

* Findings for the totul amount of losses are required under Chapters 109A, 110, 110A, and 113A of Tie 18 for offenses committed on or
after September 13, 1994, but before Apri] 23, 1996.

 

 

 
 

Case 2:05-cr-00133-TSZ Document 34 Filed 12/16/05 Page 6 of 6
AO 245B (Rey, 6/05) Judgment in Criminal Cage (Rev. USAQ 10/2003)

 

 

 

 

 

 

 

Sheet 6 — Schedule of Payments
Judgment — Page _ 6 of §
DEFENDANT: CHRISTOPHER WELLS McINTOSH

CASE NUMBER: CRO5-0133TSZ-001

SCHEDULE OF PAYMENTS

Having assessed the dcfendant’s ability to pay, payment of the total criminal monctary penalties are duc as follows:
Bag PAYMENT IS DUE TMMEDIATELY. Any unpaid amount shall be paid:

a During the period af imprisonment, no less than 10% of their inmate gross monthly income or $25.00 per quarter, whichever is

greater, 10 he collected and disbursed in accordance with the Inmate Financial Responsibility Program.

4  During the period of supervised release, in monthly installments amounting to not less than __10 % of the defendant’s
gross monthly household imcome, to commence 30 days afier release from iroprisonment.

£] During the period of probation, in monthly installments amounting to not less than % of the defendant’s
gross monthly household income, to commence 30 days after the date of this judgment.

The payment schedule above is the minimum amount that the defendant is expected to pay towards the moactary

pena ties imposed by the Court. The defendant shall pay more than the amount established whenever possible,
he defendant most ovtify the Court, the United States Probation Office, and the United States Atterney’s Office

of any material change in the defendant’s financial circumstances that might affect the ability to pay restitution,

Uniess the court has expressly ordered otherwise, if thix judgment imposes imprisonment, payment of critnimal mofetary penalties is duc
during imprisonment,

All criminal monetaty penalties, except those payments made through the Federal Burcau of Prisons’ Inmate Financial Responsibility

Program, are made to: United States District Court, Western District of Washi ngton. For restitution payments, the Clerk of the Court is 1a
forward moncy received to the party(ies) designated to receive restitution specified atpape 6 ___soof this Judgment.

—_

The defendant shall receive credit for all paymetits previously made toward airy criminal monetary penalties imposed.

(11 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number}, Total Amount, Jomt and Several Amount,
and corresponding payee, if appropriate.

(J ‘The defendant shall pay the cost of prosecution,

Ct

The defendant shall pay the following court cost(s):

CL} ‘The defendant shall forfeit the defendant's interest in the following property to the Uniied States:

   
 
 

Payments f

(shoe | Wl be applicd in the following order: (1) assessment, (2} restitution principal, (3) restitution interest, (4) fine principal,
ne

ast, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
